       Case 3:07-cr-00634-JAJ-TJS Document 141 Filed 10/06/09 Page 1 of 5



                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF IOWA
                                  DAVENPORT DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                               Criminal No. 3:07-cr-00634

vs.

CHRISTOPHER JAMES MCGEE,

               Defendant.


                 DEFENDANT MCGEE’S SENTENCING MEMORANDUM

       NOW COMES Defendant Christopher James McGee and submits the following information

for his sentencing hearing, currently scheduled for 9 October 2009 at 8:30.

       1.      WITNESSES AND EXHIBITS. The Defendant intends to testify extensively himself

about each contested issue. He does not anticipate calling other witnesses or submitting exhibits at

sentencing.

       2.      UNRESOLVED MOTIONS. There are 8 defense motions on which the Court has

not yet ruled: Docket Nos. 92 (and 127), 122, 123, 124, 125, 126, and 136. Counsel has no

additional arguments or authorities beyond what is in the motions. The Defendant wants to testify

about why he is entitled to relief in each motion, asserting that counsel’s written explanations of his

arguments are deficient.

       3.      SENTENCING ISSUES. The Defendant faces a mandatory life sentence under

United States Code Title 21, Section 841(b)(1)(A)(iii). He has the following unresolved objections

to the presentence report:

               a.      Identifying Data. The Defendant never used the aliases Andrell T. Bates,

Chrustopher J. Pollnitz, or James Taylor. He never used the alias Social Security number.
       Case 3:07-cr-00634-JAJ-TJS Document 141 Filed 10/06/09 Page 2 of 5



                 b.    Offense Conduct. The Defendant maintains his innocence. There were no

reasonable grounds for a conviction. The Government did not prove the elements of the offenses

beyond a reasonable doubt.

                       i.      Paragraphs 8 and 21. The Defendant denies it was his residence. It

was not proven to be his residence.

                       ii.     Paragraphs 8 through 20. The Defendant denies any involvement in

Sanders's drug activities. Note that he was not present at any point in any of these incidents. He

objects to the drug amounts. He objects to the inclusion of any marijuana, as he was not indicted for

any marijuana.

                       iii.    Paragraph 22. There was no evidence that the Defendant met with

someone behind the building. He objects to the characterization that his walking around the corner

was consistent with a drug deal. He has the same objection concerning the taxi. Note that all three

went up to the taxi instead of one conducting a transaction while the others acted as lookouts. The

Defendant also questions how Edwards could be acting as a lookout if the others left, walking down

the street.

                       iv.     Paragraph 23. The Defendant objects to the cocaine amount as

contrary to the jury’s verdict on Count 2. He continues to object to the inclusion of any marijuana.

                       v.      Paragraph 25. The Defendant was not Mirandized. He denies the

alleged statements, and notes that the recording is garbled and indecipherable. He never wired

money, nor said he did so. He never traveled to Chicago to obtain cocaine, nor said he did so. He

never said Sanders was residing with Edwards and himself; indeed, he never said he was residing

there. He was just visiting.

                       vi.     Paragraphs 28 and 29. The Defendant denies Edwards’s allegations.

                                                -2-
        Case 3:07-cr-00634-JAJ-TJS Document 141 Filed 10/06/09 Page 3 of 5



                       vii.    Paragraphs 30 through 35. The Defendant was not involved in any

way, nor was he present at any time. He objects to the drug amount.

                       viii.   Paragraphs 36, 37, 39, and 41. The Defendant denies Sanders’s

allegations. He objects to the drug amount.

                       ix.     Paragraph 37. The Defendant was not in Iowa in February or March

of 2007. There is no evidence that the Defendant had any contact or involvement with Sanders in

those months.

                       x.      Paragraph 39. The Defendant did not move to Iowa with Angelo

Scott. There was no falling out with Scott. Sanders was incarcerated during part of the alleged 2007

period. McGee and Williams never lived together.

                       xi.     Paragraphs 44 and 45. The Defendant denies Sharkey’s allegations.

                       xii.    Paragraphs 46 through 48. The Defendant denies Edwards’s and

Heumpreus’s allegations. Their statements are inconsistent with other statements they each have

made.

                       xiii.   Paragraphs 49 and 58. The Defendant again objects to the inclusion

of any marijuana in the drug amount. He also objects to any drug amount above 50 grams as not

found by a jury beyond a reasonable doubt.

                c.     Role Assessment. Paragraphs 51 and 61. The Defendant asserts he played

no part in any conspiracy with Sanders. Nevertheless, based on the Probation Office’s own

conclusion in Paragraph 50 that Sanders was responsible for more drugs and qualified for a role

enhancement, the Defendant believes he is entitled to a mitigating role adjustment.

                d.     Adjustment for Acceptance of Responsibility. Paragraph 55. The Defendant

asserts he is entitled to this adjustment because he was vindicated by the lesser jury verdict on Count

                                                 -3-
       Case 3:07-cr-00634-JAJ-TJS Document 141 Filed 10/06/09 Page 4 of 5



2 and because he admitted the truth to the arresting officers about the cocaine found under the

mattress. The jury accepted that the Defendant had this lesser amount of crack for personal use only,

not as part of any conspiracy or attempt to distribute.

               e.      Criminal History.

                       i.      Paragraphs 69 and 70. These cases are not the Defendant’s.

                       ii.     Paragraphs 71, 72, and 100. The Defendant denies membership or

involvement in, or association with, any street gang.

                       iii.    Paragraph 72. The Defendant admits to the cocaine and the gun, but

denies all other factual allegations.

                       iv.     Paragraphs 73 and 79. This case is not the Defendant’s. Even if it

were, there should be no criminal-history point since the offense is equivalent to vagrancy. Please

note that probation was discharged before the Defendant came to Iowa at the end of January 2007,

so there should be no probation enhancement.

                       v.      Paragraphs 78 through 80. With only 3 criminal-history points and

no probation enhancement, the Defendant’s criminal-history category should be II.

               f.      Factors that May Warrant a Departure or Variance. The Defendant seeks a

downward variance to treat the crack amount as if it were powder. He asserts the drug quantity

would then not be sufficient to trigger the statutory mandatory life sentence.

       4.      BUREAU OF PRISONS PLACEMENT AND PROGRAMS. The Defendant asks

the Court to recommend that he participate in the BOP’s intensive drug-treatment program.




                                                -4-
        Case 3:07-cr-00634-JAJ-TJS Document 141 Filed 10/06/09 Page 5 of 5



                                                         For CHRISTOPHER JAMES MCGEE, Defendant
                                                         s / James Bryson Clements
                                                         1503 Brady Street
                                                         Davenport, Iowa 52803-4622
                                                         TEL 563-323-9715
                                                         FAX 563-323-7452
                                                         EMAIL jbclements@iabar.org

                                                 PROOF OF SERVICE

          I certify that on 6 October 2009 I filed this document with the clerk of this Court through the CM/ECF system.
All participants in this case are registered CM/ECF users, and service will be through the CM/ECF system.
          I further certify that on the same date I served a copy on the assigned United States Probation Officer by e-mail.
                                                                  s / James Bryson Clements

cc:      Christopher J. McGee
         file (McGEEcj1403.01)




                                                           -5-
